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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 9:24-cv-80992-AMC

      MIKE OHLMAN, individually and on
      behalf of all others similarly situated,

      Plaintiff,

      V.

      GUNSTER, YOAKLEY & STEWART,
      PA

                   Defendant.
                                                        /

                                DEFENDANT’S NOTICE OF STRIKING

           Pursuant to the Clerk’s Notice reflected in Docket Entry 5, Defendant files this NOTICE

 OF STRIKING Docket Entry 4. Immediately following the filing of this Notice of Striking,

 Defendant will file a Notice of Filing identifying the above case caption and number and attaching

 what was originally filed as Docket Entry 4 as an exhibit.

           Respectfully submitted, this 16th day of August, 2024.


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                                                 By: /s/ Kristine McAlister Brown
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                                                  By: /s/ Jacqueline Arango
                                                  Jacqueline M. Arango
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 16, 2024, a true and correct copy of the foregoing has

 been furnished by electronic filing with the Clerk of the Court via CM/ECF, which will send notice

 of electronic filing to all counsel of record.

                                                  Respectfully Submitted,

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                                                  By: /s/ Kristine McAlister Brown
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